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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

   DISPLAY TECHNOLOGIES, LLC,

          Plaintiff,
                                                           Civil Action No. 0:19-CV-61897-SMITH
   v.

   KLIP XTREME, LLC,

          Defendant.



        CERTIFICATE OF INTERESTED PARTIES AND CORPORATE DISCLOSURE
                                            STATEMENT


              The Plaintiff, DISPLAY TECHNOLOGIES, LLC, a Florida limited liability

   company, by and through the undersigned counsel, pursuant to Rule 7.1, Federal Rules of

   Civil Procedure, hereby submit its Certificate of Interested Parties and Corporate Disclosure

   Statement.

        I. INTERESTED PERSONS

              The persons, associated persons, firms, partnerships or corporations that have a

   financial interest in the outcome of this case, including all subsidiaries, conglomerates,

   affiliates, parent corporations, and other identifiable legal entities related to a party include:

              a.   Kizzia Johnson PLLC (Plaintiff’s outside counsel)

              b.   Sand, Sebolt & Wernow Co., LPA (Plaintiff’s outside counsel)

              c.   Patent Asset Management, LLC (Plaintiff’s consultant)

        II. CORPORATE DISCLOSURE STATEMENT

              1. The Plaintiff, DISPLAY TECHNOLOGIES, LLC, hereby certifies that there are

   no parent corporations and/or any publicly held corporation owning 10% or more of its stock.
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   Dated: September 12, 2019         Respectfully submitted,


                                     /s/Howard L. Wernow
                                     Howard L. Wernow B.C.S.
                                     (Trial Counsel)
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                                     Board Certified in Intellectual Property Law
                                     By the Florida Bar
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                                 CERTIFICATE OF SERVICE

           The undersigned certifies that all counsel of record for Defendant are being served
   with a copy of this document via electronic mail on September 12, 2019.


                                              /s/Howard L. Wernow
                                              Howard Wernow, B.C.S.
